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                   IN THE UNITED STATES DISTRICT COUif 'TE · Dl~jfa:· ·:, _: SAS
                   EASTERN DISTRICT OF ARKANSAS                     t "'f:-i .:                <.
                          CENTRAL DIVISION
                                                                     . ~~ : / 2020
UNITED STATES OF AMERICA       )
                               )                     J ; .:~ '; . .. ·, - :~:- :·' f_:', , C ERK
V.                             )   No. 4: 19CR00578 DPlvf.                      '5L ~ . , .
                               )
ANTWANE NELSON                 )


                             SUPERSEDING INFORMATION


THE UNITED STATES ATTORNEY CHARGES:

                                             COUNT I

        On or about August 8, 2019, in the Eastern District of Arkansas and elsewhere, the

defendant,

                                      ANTWANE NELSON,

having knowledge of a crime that can be prosecuted in the United States District Court for the

Eastern District of Arkansas, to wit: possession of a controlled substance with the intent to

distribute, did knowingly and intentionally conceal such criminal activity and fail to as soon as

possible make known the same criminal activity to some judge or other person in civil or military

authority under the United States, in violation of Title 18, United States Code, Section 4.




                                              UNITED S        ES TTORNEY/ASSISTANT
                                              EDWARD 0. WALKER
                                              Assistant U.S. Attorney
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